Case 2:04-Cr-20499-BBD Document 24 Filed 07/11/05 Page 1 of 2 Page|D 25

IN THE UNH‘ED sTATES DISTRICT coURT m BY °'°“
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 JUL ' ' PH " 08
UNITED STATES oF AMERICA, * U"DU'§ Sq{§megfl&m
W)D Ct §.-‘\t llth
Plaimiff, *
v. * cR. No. 04-20499-D

JODIE POPE, *
Defendant. *

 

ORDER GRANTING MOTION FOR ADDITIONAL Tll\/IE
]N WHICH TO FILE PRETRIAL MOTIONS AND TO RESET REPORT DATE

 

Before this Court is defendant’s motion to extend time to file pretrial motions and to
Reset Report Date, filed July 8, 2005. For good cause shown and with no opposition from the
govemment, the motion is GRANTED. The report date will be reset by separate notice for sixty
days. This cancels the current setting for July 21, 2005. The motions deadline is extended to
forty-five (45) days from the date of this order.

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lt is so ORDER.ED this § day of July, 2005.

 

D STATES DISTRICT JUDGE

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Honorable Berniee Donald
US DISTRICT COURT

